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                               United States District Court
                              Middle District of Pennsylvania
                                  Harrisburg Division

    The PUBLIC INTEREST LEGAL
    FOUNDATION,

                                               Plaintiff,
       v.

    LEIGH M. CHAPMAN, in her official
    capacity as Acting Secretary of the                     No. 1:19-cv-00622-CCC
    Commonwealth of Pennsylvania, and
    JONATHAN M. MARKS, in his official
    capacity as Deputy Secretary for Elections and
    Commissions,

                                           Defendants.


                   Plaintiff Public Interest Legal Foundation’s
    Motion for Attorney’s Fees, Costs, and Expenses and Memorandum of Law

            Pursuant to 52 U.S.C. § 20510(c) and Fed. R. Civ. P. 54(d)(2)(B), Plaintiff

Public Interest Legal Foundation, Inc. (“Foundation”) hereby moves for an order

granting the Foundation reasonable attorney’s fees, costs, and expenses in this

action. With this Motion, the Foundation requests $186,220.00 in attorney’s fees

and $2,723.91 in costs and expenses. The Foundation requests the opportunity to

supplement this Motion with related fees, costs, and expenses incurred after the

submission of this Motion.1



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    This Motion requests reimbursement for time billed through December 12, 2022.
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      As grounds for this motion, the Foundation states that (1) it is the prevailing

party in this action under 52 U.S.C. § 20510(c), and (2) the requested fees, costs,

and expenses are fair and reasonable. In support of this Motion, the Foundation

submits the accompanying memorandum of law, along with the declarations of

Noel H. Johnson, Linda A. Kerns, and Lou Capozzi, and the exhibits attached

thereto.

      The Foundation sought concurrence in this Motion from Defendants and

Defendants state that they oppose this Motion. See L.R. 7.1.




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                                INTRODUCTION

      Plaintiff Public Interest Legal Foundation, Inc. (“Foundation”) is the

prevailing party in this action and is therefore entitled to recover reasonable

attorney’s fees, costs, and expenses under the fee-shifting provision of the National

Voter Registration Act of 1993 (“NVRA”), 52 U.S.C. § 20510(c).

      After Defendants Chapman and Marks (together, the “Secretary”) repeatedly

denied the Foundation access to public voter list maintenance records, the

Foundation filed this action seeking an order compelling production of the records.

(Doc. 1, Prayer for Relief ¶¶ 1-2.) The Foundation also prayed for attorney’s fees,

including litigation expenses and costs. (Doc. 1, Prayer for Relief ¶ 3.)

      On March 31, 2022, the Court granted the Foundation’s motion for summary

judgment in significant part. (See Doc. 84 (“Summary Judgment Order”).) The

Court’s Summary Judgment Order is an enforceable judgment that affirms the

requested records are within the NVRA’s scope and requires the Secretary to

produce those records to the Foundation.

      For that reason, the Foundation is the prevailing party under the NVRA’s fee-

shifting provision, 52 U.S.C. § 20510(c) and seeks an order awarding it $186,220.00

in attorney’s fees, and $2,723.91 in costs and expenses.




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                                   ARGUMENT

I.    The Foundation Is Entitled to an Award of Reasonable Attorney’s Fees,
      Costs, and Expenses.

      A. The NVRA Is Subject to the Same Fee-Shifting Standards Used for
         Other Civil Rights Statutes.

      The NVRA provides, “In a civil action under this section, the court may allow

the prevailing party (other than the United States) reasonable attorney fees, including

litigation expenses, and costs.” 52 U.S.C. § 20510(c). The term “prevailing party” is

a “legal term of art,” Buckhannon Bd. & Care Home v. W. Va. Dep’t of Health &

Human Res., 532 U.S. 598, 603 (2001) (“Buckhannon”) that has been consistently

construed to mean the same thing in each fee-shifting statute that uses it, Hensley v.

Eckerhart, 461 U.S. 424, 433 n.7 (1983) (“The standards set forth in this opinion are

generally applicable in all cases in which Congress has authorized an award of fees

to a ‘prevailing party.’”) (construing fee-shifting provision of 42 U.S.C. § 1988); see

also Han Min Lee v. 1333 Enter., No. 2:19-cv-00182-JDW, 2019 U.S. Dist. LEXIS

232034, at *9 (E.D. Pa. Dec. 13, 2019) (“The term ‘prevailing party’ has the same

meaning across all federal fee-shifting statutes.”).

      Accordingly, courts that have interpreted the NVRA’s fee-shifting provision

have concluded that the NVRA is subject to the same standards that apply in other

civil rights cases. See Doc. 84, Public Interest Legal Foundation v. Bennett, No.

4:18-cv-00981 (entered Jan. 26, 2021) (citing Hensley v. Eckerhart, 461 U.S. 424,


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433 (1983) and stating, “The threshold question when determining whether to award

attorney’s fees under a statute that authorizes such an award is whether the movant

is a ‘prevailing party.’”); Project Vote/Voting for Am. v. Long, 887 F. Supp. 2d 704,

708-09 (E.D. Va. 2012) (“Courts apply the same standards applicable to other

federal civil rights fee shifting statutes when considering an award under [52 U.S.C.

§ 20510(c)].”); Nat’l Coal. for Students with Disabilities v. Bush, 173 F. Supp. 2d

1272, 1276 (N.D. Fla. 2001) (“In cases arising under the National Voter Registration

Act, see 42 U.S.C. § 1973gg-9(c), as in cases arising under 42 U.S.C. § 1983 and

certain other civil rights statutes, see 42 U.S.C. § 1988, the court ‘may’ award the

‘prevailing party’ a reasonable attorney’s fee.”); Project Vote v. Blackwell, No. 1:06-

CV-1628, 2009 U.S. Dist. LEXIS 34571, at *15 n.7 (N.D. Ohio Mar. 31, 2009)

(“Because these fee shifting statutes contain nearly identical language and serve the

same Congressional purposes, courts generally construe the sections similarly, and

the same standards apply to fees recovered under all three sections.”); True the Vote

v. Hosemann, No. 3:14-CV-532-NFA, 2014 U.S. Dist. LEXIS 201659, at *8 (S.D.

Miss. Oct. 17, 2014) (“If these are not ‘civil rights’ per se, they are so closely akin

to such rights that the same fee shifting standards should apply.”).

      B. The Foundation Is the Prevailing Party.

      A party is considered a prevailing party “if they succeed on any significant

issue in litigation which achieves some of the benefit the parties sought in bringing


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suit.” Hensley v. Eckerhart, 461 U.S. 424, 433 (1983) (internal citations omitted).

“[A]t a minimum … the plaintiff must be able to point to a resolution of the dispute

which changes the legal relationship between itself and the defendant.” Tex. State

Teachers Ass’n v. Garland Indep. Sch. Dist., 489 U.S. 782, 792 (1989) (construing

42 U.S.C. § 1988). The “material alternation of the legal relationship of the parties”

is the “touchstone of the prevailing party inquiry.” Tex. State Teachers Ass’n, 489

U.S. at 792-93. A material alteration occurs if “the plaintiff becomes entitled to

enforce a judgment, consent decree, or settlement against the defendant.” Farrar v.

Hobby, 506 U.S. 103, 113 (1992).

      In the Third Circuit’s words, “The Supreme Court so far has identified two

resolutions that establish prevailing party eligibility: (1) judgments on the merits,

and (2) court-ordered consent decrees (including settlement agreements enforced

through consent decrees).” Singer Mgmt. Consultants v. Milgram, 650 F.3d 223, 228

(3d Cir. 2011) (en banc) (“Singer”) (citing Buckhannon, 532 U.S. at 604).

      The Foundation is fundamentally the prevailing party under these standards

because it received summary “judgment on the merits” of its claims (Doc. 84). See

Singer, 650 F.3d at 228 (“A grant of summary judgment or a trial verdict in favor of

the plaintiff is no doubt a ‘judgment.’”); see also Merriam-Webster,

https://www.merriam-webster.com/dictionary/merit (defining “merits” as “the

substance of a legal case apart from matters of jurisdiction, procedure, or form”).


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The Court’s Summary Judgment Order has undeniably altered the parties’ legal

relationship because the Foundation is now “entitled to enforce a judgment …

against” the Secretary. Farrar, 506 U.S. at 113. Specifically, the parties’ “legal

relationship” is materially altered such that the Secretary is now obligated to produce

to the Foundation the very records the Foundation sought before and throughout this

litigation. In other words, the Secretary is now forced to do something she would

otherwise not have to do.

      Two recent cases involving the Foundation reinforce the conclusion that the

Foundation is the prevailing party here. In Public Interest Legal Foundation. v.

Matthews, 589 F. Supp. 3d 932, 944 (C.D. Ill. 2022), the court granted the

Foundation’s motion for summary judgment on its claim under the NVRA’s Public

Disclosure Provision. In the same order, the court provided, “Defendants are further

ORDERED, pursuant to 52 U.S.C. §20510(c), to pay the Foundation its attorneys’

fees, costs, and expenses.” Id.

      In Public Interest Legal Foundation v. Bennett, the Court entered an “Agreed

Order” made between the parties, under which the Foundation “received … the relief

it originally requested—for the Defendant to publicize certain documents and

information—with only minor concessions.” Public Interest Legal Foundation v.

Bennett, No. 4:18-cv-00981, Doc. 84 at 3 (entered Jan. 26, 2021). The Court held

the Foundation was a prevailing party within the meaning of the NVRA because “the


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Agreed Order (Doc. No. 76) that the Court entered does represent actual relief to the

plaintiff that has changed the legal relationship of the parties.” Id. In other words,

“PILF has a court order that it can ask [the] Court to enforce if the Defendant fails

to comply with it.” Id.

      Similarly, here, the Foundation received an enforceable judgment that entitles

the Foundation to the relief requested in the complaint—a ruling that the requested

records are within the NVRA’s scope and an order compelling production of those

records. The Foundation thus “has a court order that it can ask this Court to enforce

if the Defendant[s] fails to comply with it.” Id. The Foundation is the prevailing

party and there is no credible argument to the contrary.

      In civil rights cases like this, “a prevailing plaintiff should ordinarily recover

an attorney’s fee unless special circumstances would render such an award unjust.”

Hensley, 461 U.S. at 429, superseded on other grounds (citations and quotations

omitted); see also Nat’l Coal. for Students with Disabilities, 173 F. Supp. 2d at 1276

(“Although these attorney’s fee provisions speak in discretionary terms, a prevailing

plaintiff ordinarily is entitled to an award of fees, unless special circumstances would

render such an award unjust.”). No such circumstances exist here. To the contrary,

compensating the Foundation for its time will encourage private enforcement of the

NVRA and thereby further the purpose of the NVRA’s fee-shifting provision, 52

U.S.C. § 20510(c).


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II.   The Requested Fee Award Is Reasonable.

      A. The Lodestar Method Is Used to Calculate an Appropriate Fee
         Award.

      The reasonableness of a fee award is assessed using the “lodestar” formula,

“which requires multiplying the number of hours reasonably expended by a

reasonable hourly rate.” Maldonado v. Houstoun, 256 F.3d 181, 184 (3d Cir. 2001)

(citations omitted). The figure that results from the lodestar calculation is more than

a rough guess or approximation of the final award to be made: “[W]hen the applicant

for a fee has carried the burden of showing that the claimed rate and number of hours

are reasonable, the resulting product is presumed to be the reasonable fee….” Blum

v. Stenson, 465 U.S. 886, 897 (1984) (emphasis added); see also City of Burlington

v. Dague, 505 U.S. 557, 562 (1992) (“We have established a ‘strong presumption’

that the lodestar represents the ‘reasonable fee.’”).

      B. The Number of Hours Expended Is Reasonable.

      To establish the number of hours reasonably expended, “[t]he party seeking

an award of fees should submit evidence supporting the hours worked.” Hensley,

461 U.S. at 433. The movant “should identify the general subject matter of his time

expenditures,” but “is not required to record in great detail how each minute of his

time was expended.” Id. at 437 n.12.

      The Foundation fulfills these obligations with the accompanying documents

submitted in support of this Motion, specifically, the documents accompanying the
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Declaration of Noel H. Johnson (“Johnson Declaration”) and the Declaration of

Linda A. Kerns (“Kerns Declaration”). Both declarations attest to the necessity and

accuracy of the time expended in this matter. The accompanying billing statements

show, in detail, the tasks performed, and the time devoted to each task, based on

contemporaneous time records.

      The party seeking attorney’s fees should also exercise “billing judgment,”

Hensley, 461 U.S. at 437. In an exercise of billing judgment, Foundation attorneys

Johnson and Phillips excluded 70.4 hours from the fee request and Ms. Kerns

excluded 10.1 hours from the fee request.2 Johnson Declaration ¶ 13; Kerns

Declaration ¶ 10. Combined, these reductions have a value of $32,200.00. Id.

      The Supreme Court has made clear that “‘the most critical factor” in

determining the reasonableness of a fee award ‘is the degree of success obtained.’”

Farrar, 506 U.S. at 114 (quoting Hensley, 461 U.S. at 436). “Where a plaintiff has

obtained excellent results, his attorney should recover a fully compensatory fee.”

Hensley, 461 U.S. at 435. Here, the dominant legal issue—whether the requested

records are within the NVRA’s scope—was resolved in the Foundation’s favor. (See

Doc. 23 at 14.) The Secretary was then ordered to produce the vast majority of the

2
 The Foundation’s billing entries are organized into columns. The column labeled
“Gross Hours” reflects the total time billed for each task. Where a billing judgment
was made, the next column, labeled “Adjusted Hours,” reflects any reduction and
provide the time for which recovery is sought. Johnson Declaration ¶ 11; Kerns
Declaration ¶ 9.

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requested records. (See Doc. 84 ¶ 3 (“Defendants are DIRECTED to comply with

plaintiff’s first, second, and third disclosure requests to the extent required by the

National Voter Registration Act as set forth more fully in our accompanying

memorandum and this order.”).)3 The Foundation thus obtained “excellent results”

and should recover its full fee, Hensley, 461 U.S. at 435, minus the reductions

previously described.

      C. The Hourly Rates Are Reasonable.

      The Foundation is a non-profit, public interest law firm, and it was primarily

represented by its own attorneys in this action. Yet “Congress did not intend the

calculation of fee awards to vary depending on whether plaintiff was represented by

private counsel or by a nonprofit legal services organization,” like the Foundation.

Blum, 465 U.S. at 894; see also Student Public Interest Research Group of New

Jersey, Inc. v. AT&T Bell Laboratories, 842 F.2d 1436, 1450 (3rd Cir. 1988) (“We

hold that under the facts of this case, involving a for-profit public interest law firm


3
  The Foundation was successful on its fourth disclosure request as a matter of law.
Judgment was nevertheless entered for the Secretary on the fourth disclosure request
because the Secretary swore in its summary judgment filings that it “lacks any
records to disclose.” (Doc. 83 at 23 (citing Doc. 64 at 17-18; Doc. 64-1 ¶¶ 42-43).)
What that means is the Secretary could have resolved the Foundation’s fourth
disclosure request before this action was even filed—or any time thereafter. Instead,
the Secretary maintained that all requested records were outside the NVRA’s scope,
see Doc. 1-18, thereby forcing the Foundation to pursue all requests, including the
fourth request, through the summary judgment stage. Judgment in the Secretary’s
favor on the fourth request does not change the excellent nature of the Foundation’s
success.
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that has an artificially low billing rate, the community billing rate charged by

attorneys of equivalent skill and experience performing work of similar complexity,

rather than the firm’s billing rate, is the appropriate hourly rate for computing the

lodestar.”).

      The Supreme Court explains, “It is in the interest of the public that such law

firms be awarded reasonable attorneys’ fees to be computed in the traditional manner

when its counsel perform legal services otherwise entitling them to the award of

attorneys’ fees.” Blum, 465 U.S. at 895. Therefore, the reasonable hourly rate is

based on the “prevailing market rates in the relevant community, regardless of

whether plaintiff is represented by private or non-profit counsel.” Id.

      A reasonable hourly rate should be in accord with rates “prevailing in the

community for similar services by lawyers of reasonably comparable skill,

experience, and reputation.” Blum, 465 U.S. at 895 n.11. “[T]he burden is on the fee

applicant to produce satisfactory evidence—in addition to the attorney’s own

affidavits—that the requested rates are in line” with the rates charged by those

lawyers. Id.

      The Foundation has complied with these standards by requesting an hourly

rate of $400 per hour for Attorney’s Johnson, Phillips, and Kerns. Johnson

Declaration ¶¶ 4-5; Kerns Declaration ¶ 3. These rates are reasonable and

comparable to the rates charged by similar lawyers in the Middle District of


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Pennsylvania, according to Lou Capozzi, an attorney who practices in this district.

Declaration of Lou Capozzi ¶ 7.

        Here, after billing judgments, the Foundation reasonably requests

compensation in the amount of $166,200.00 for its attorneys’ fees and $20,020.00

for Ms. Kerns’s fees.4 Johnson Declaration ¶ 16; Kerns Declaration ¶ 12.

     D. The Foundation Is Entitled to Recover Costs and Expenses in Addition
        to Attorney’s Fees.

        The NVRA provides that prevailing parties are entitled to recovery of

“litigation expenses and costs.” 52 U.S.C. § 20510(c). The Foundation has submitted

itemized reports of the expenses necessarily incurred in this litigation. Exhibit 2 to

Johnson Declaration; Exhibit 2 to Kerns Declaration. The Foundation reasonably

requests reimbursement in the amount of $2,361.41 for the expenses it incurred and

$362.50 for those expenses Ms. Kerns incurred. Johnson Declaration ¶ 14; Kerns

Declaration ¶ 11.

     E. The Foundation Is Entitled to Recover Attorney’s Fees Associated with
        the Preparation of this Motion.

        The Foundation is also entitled to recover for the time it spent on the

preparation of this Motion. Lejeune G. v. Khepera Charter Sch., 420 F. Supp. 3d

331, 341 (E.D. Pa. 2019) (“[T]ime spent on fee petition preparation is

compensable.”) (citations omitted). Accordingly, in addition to the time spent on the

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    This amount reflects time billed through December 12, 2022.

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case-in-chief, the Foundation’s counsel is seeking to recover for the time spent

preparing the fee petition and supporting documentation. See Exhibit 1 to Johnson

Declaration; Exhibit 1 to Kerns Declaration. The Foundation intends to supplement

this amount with additional fees incurred in preparing this Motion and any other

compensable work that may arise hereafter.

                                 CONCLUSION

      For the foregoing reasons, the Court should award the Foundation attorney’s

fees, costs, and expenses as requested herein.

Dated: December 16, 2022.

Respectfully submitted,

                                  /s/ Noel H. Johnson
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                                *Admitted Pro Hac Vice
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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 16, 2022, the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system which will

send notification to all counsel of record.


                                              Respectfully submitted,


                                               /s/ Noel H. Johnson
                                              Noel H. Johnson
                                              njohnson@publicinterestlegal.org
                                              Counsel for Plaintiff




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